         Case 2:14-cv-02057-SMM Document 56 Filed 06/10/15 Page 1 of 3
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 7
     Attorneys for Plaintiff and Counterdefendant
 8   VIP Products, L.L.C.

 9                        IN THE UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11
     VIP Products, L.L.C., an Arizona limited            No. 2:14-cv-02057-DGC
12   liability company,
                                                         NOTICE OF SERVICE OF 30(b)(6)
13                 Plaintiff and Counterdefendant,       DEPOSITION NOTICE OF JACK DANIEL’S
                                                         PROPERTIES, INC.
14          v.
15
     Jack Daniel’s Properties, Inc., a Delaware
16   corporation

17                 Defendant and Counterclaimant.
18

19          Pursuant to LRCiv 5.2, plaintiff and counterdefendant VIP Products, L.L.C. (“VIP”)

20   notifies the Court that it served a Notice of 30(b)(6) Deposition of Jack Daniel’s Properties,

21   Inc. on defendant and counterclaimant Jack Daniel’s Properties, Inc. (“JDPI”) on counsel of

22   record via electronic mail 1 on June 5, 2015.

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       Pursuant to Fed. R. Civ. P. 5(b)(2)(E), the parties have agreed, in writing, that service via
     electronic mail constitutes effective service under Rule 5. (Notwithstanding that agreement,
     VIP also mailed a copy of this document via first class mail on the same date.)
                                                     1
     Case 2:14-cv-02057-SMM Document 56 Filed 06/10/15 Page 2 of 3
 1

 2     RESPECTFULLY SUBMITTED this 10th day of June, 2015.

 3                                     DICKINSON WRIGHT PLLC
 4

 5                                     By: s/ David G. Bray
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 1                                CERTIFICATE OF SERVICE

 2          I hereby certify that on June 10, 2015, I electronically transmitted the above document

 3   to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of

 4   Electronic Filing to all CM/ECF registrants:

 5
                                       s/ Kristi A. Arendt
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